Case 1:20-cv-22427-MGC Document9 Entered on FLSD Docket 08/28/2020 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. — 1:20-ev-22427-MGC

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
REAL PROPERTY LOCATED AT 900
BISCAYNE BLVD UNIT #6107, MIAMI,
FLORIDA 33132

Defendant(s).

 

VERIFIED CLAIM AND STATEMENT OF INTEREST OF NATHALIE
BUMBA-PEMBE

Pursuant to 18 U.S.C. § 983(a)(4)(A) and Supplemental Rule G(5)(a) of the Federal Rules
of Civil Procedure, Claimant Nathalie Bumba-Pembe (“Claimant”) hereby asserts an interest in
and files this Claim to all right and title to real property located at 900 Biscayne Blvd. Unit #6107,
Miami, Florida 33132 (the “Defendant Asset’’), including any and all rights, including all
buildings, fixtures, appurtenances, improvements, attachments and easements found therein or
thereon. Claimant is titleholder to the Defendant Asset, and therefore holds 100% ownership
interest in the Defendant Asset and is entitled to all rights, appurtenances, improvements, and

attachments thereon, as well as all leases, rents and profits therefrom.
Case 1:20-cv-22427-MGC Document9 Entered on FLSD Docket 08/28/2020 Page 2 of 3

VERIFICATION

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on thisZé day of August, 2020, at COoONnGo., .

ee
Dated: August B, , 2020

 

Respectfully submitted,

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Attorneys for Claimant Nathalie Bumba-
Pembe
Case 1:20-cv-22427-MGC Document9 Entered on FLSD Docket 08/28/2020 Page 3 of 3

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on August 28, 2020 a true and correct copy of the foregoing
Verified Claim and Statement of Interest was electronically filed with the Clerk of the Court using

the CM/ECF system which will send a notice of electronic filing on all counsel or parties of record
on the service list. I further certify that a true and correct copy of the foregoing was served via

U.S. Mail upon all counsel identified on the manual notice list.
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Adriana Riviere Badcii -
SERVICE LIST

Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for

this case.

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